Case 0:16-cv-60089-WPD Document 13 Entered on FLSD Docket 02/16/2016 Page 1 of 3



                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF FLORIDA

  PRESSMAN, INC. d/b/a PILL BOX                   )
  PHARMACY, individually and as the               )
  representative of a class of similarly-         )
  situated persons,                               )
                                                  )
                             Plaintiff,           )
                                                  )
               v.                                 )
                                                  )
                                                        CASE NO. 16-cv-60089-CIV-
  BAYER AG, BAYER CORPORATION,                    )
                                                        DIMITROULEAS
  BAYER HEALTHCARE LLC, BAYER                     )
  DIABETES CARE, ASCENSIA                         )
  DIABETES CARE US, INC., ASCENSIA                )
  DIABETES CARE HOLDINGS AG,                      )
  ASCENSIA DIABETES CARE, and                     )
  PANASONIC HEALTHCARE                            )
  HOLDINGS CO., LTD.                              )
                                                  )
                             Defendants.          )

                        NOTICE OF VOLUNTARY DISMISSAL

        Pursuant to Fed. R. Civ. P. 41 (a) (1) (A) (i), Pressman, Inc. d/b/a Pill Box

  Pharmacy dismisses this action without prejudice, with each party to bear its own

  fees and costs incurred as a result of the subject proceedings. No defendant has

  served an answer to Plaintiff’s Amended Class Action Complaint or a motion for

  summary judgment.


  February 16, 2016                         Respectfully submitted,

                                            PRESSMAN, INC. d/b/a PILL BOX
                                            PHARMACY, individually and as the
                                            representative of a class of similarly-situated
                                            persons,

                                            /s/ Phillip A. Bock
Case 0:16-cv-60089-WPD Document 13 Entered on FLSD Docket 02/16/2016 Page 2 of 3



                                     Phillip A. Bock (Fla. Bar. No. 93895)
                                     Tod A. Lewis
                                     James M. Smith
                                     BOCK & HATCH, LLC
                                     134 N. La Salle St., Ste. 1000
                                     Chicago, IL 60602
                                     Telephone: 312-658-5500
                                     Email: phil@bockhatchllc.com




                                       2
Case 0:16-cv-60089-WPD Document 13 Entered on FLSD Docket 02/16/2016 Page 3 of 3



                             CERTIFICATE OF SERVICE

        I hereby certify that on February 16, 2016, I caused the foregoing to be filed

  using the Court’s CM/ECF System which will send notification of such filing to all

  counsel of record.


                                         /s/ Phillip A. Bock




                                            3
